










Opinion issued April 16, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00017–CV




IN THE INTEREST OF C.L., A Minor Child




On Appeal from the 314th District Court
Harris County, Texas
Trial Court Cause No. 2003-00805J




MEMORANDUM OPINIONAppellant Carolyn Lewis has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov’t
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004) (listing fees in court
of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, appellant Carolyn Lewis did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss for nonpayment of all required fees.  We deny all pending motions. 
PER CURIAM
Panel consists of Justices Taft, Higley, and Bland.


